Case 1:25-cv-00484-JCB          Document 59-8         Filed 05/27/25   Page 1 of 1 PageID #: 2693




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 SEAKEEPER INC.                                    )
                                                   )
                          Plaintiff,               )
                                                   )
            v.                                     )    C.A. No. 25-484-JCB
                                                   )
 DOMETIC CORPORATION,                              )
                                                   )
                          Defendant.               )



      [PROPOSED] ORDER DENYING MOTION FOR PRELIMINARY INJUNCTION

          Plaintiff Seakeeper, Inc.’s Motion for Preliminary Injunction, D.I. 8, is hereby DENIED.




 {02123448;v1 }                                   1
